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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :       Case No.: 1:21-cr-191 (JEB)
                                             :
       v.                                    :
                                             :
RYAN ZINK                                    :
                                             :
       Defendant.                            :

   MOTION FOR LEAVE TO FILE RESPONSE TO DEFENDANT’S MOTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, requests the Court to hold its order on April 9, 2025 granting the

Defendant’s Motion to Lift the Protective Order (ECF No. 152) in abeyance. The government

opposes the Defendant’s motion and anticipates filing a motion for reconsideration. There have

been substantive changes in the staffing in the government’s office in relation to these cases

causing a delay in its response to the Defendant’s motion. The government requests that the Court

holds the order granting the lift of the protective order in abeyance so that the government can

provide a briefing of the issue. The government requests a week from the date of this filing.



                                             Respectfully submitted,


                                             EDWARD R. MARTIN JR.
                                             United States Attorney

                                      By:     /s/ Jennifer Blackwell
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